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                        IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW MEXICO

 UNITED STATES OF AMERICA,                    )
                                              )
                        Plaintiff,            )
                                              )
 v.                                           )                      1:09-CR-03601-MV
                                              )
 NICHOLOUS PHILLIPS,                          )
                                              )
                        Defendant.            )

                     MOTION TO CONTINUE FINAL HEARING
                REGARDING REVOCATION OF SUPERVISED RELEASE

        Defendant Nicholous Phillips, through counsel, AEQUITAS LAW OF NEW MEXICO,

LLC (David Z. Ring), moves this Court for an order continuing the final hearing regarding

revocation of supervised release currently set for Tuesday, September 3rd, 2019 at 9:30 AM in

Santa Fe, New Mexico before the Honorable District Court Judge Martha Vazquez, and avers as

follows in support of this Motion:

       1.      Defendant faces allegations that he violated his conditions of supervised release

by submitting positive drug tests and possessing drug paraphernalia (Doc. 56).

       2.      The Court appointed the Office of the Public Defender to represent Mr. Phillips on

July 28th, 2010. (Doc. 13).

       3.      The Court granted the motion to substitute counsel for Aequitas Law of New

Mexico, LLC (David Z. Ring) on August 15th, 2019

       4.      Mr. Phillips’ counsel has not had the opportunity to confer with U.S. Probation

Officer Amy Gee regarding Mr. Phillips, and Ms. Gee may be unavailable through September 3rd,

2019 according to her outgoing away/voicemail message.

       5.      Assistant United States Attorney David M. Walsh has been contacted and has

responded that he does not oppose the motion.
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        WHEREFORE for the foregoing reasons, Defendant Nicholous Phillips respectfully

moves this Court for an Order order continuing the final hearing regarding revocation of

supervised release currently set for Tuesday, September 3rd, 2019 at 9:30 AM for at least three

weeks or until further notice of the Court.

                                                   Respectfully Submitted,
                                                   AEQUITAS LAW OF NEW MEXICO,
                                                   LLC

                                                   “Electronically Filed”
                                                   /s/ David Z. Ring
                                                   Attorney for Defendant
                                                   5901 Wyoming Blvd NE Suite J-300
                                                   Albuquerque, NM 87109
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                                                   dave@aequitas.pro



                                 CERTIFICATE OF SERVICE

Undersigned counsel certifies that a true and correct copy of the foregoing document was
electronically delivered to AUSA David M. Walsh via the CM/ECF electronic filing and delivery
system on the date indicated in the court-affixed header.

“Electronically Filed”
/s/ David Z. Ring
Attorney for Defendant
